       Case 4:18-cv-00184-RSB-BKE Document 208 Filed 06/21/24 Page 1 of 26




                             IN THE UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF GEORGIA
                                      SAVANNAH DIVISION

    BRIAN J. HUFFMAN, as Administrator of               )
    the Estate of ELIUD MONTOYA-ARCOS,                  )
    Deceased,                                           )
                                                        )
               Plaintiff,                                   Case No. 18-cv-00184
                                                        )
                                                        )   Hon Stan R. Baker
                       v.                               )
                                                        )
    THE DAVEY TREE EXPERT COMPANY;                      )
    WOLF TREE, INC.; MARJORIE L.                        )   Oral Argument Requested
    CONNER; CHRISTOPHER BRANCH;                         )
    OSCAR CRUZ; and PABLO RANGEL,                       )
    also known as Pablo Rangel-Rubio,                   )
                                                        )
               Defendants.
                                                        )


     DEFENDANT OSCAR CRUZ’S MOTION TO DISMISS PLAINTIFF’S AMENDED
        COMPLAINT AND INCORPORATED BRIEF IN SUPPORT THEREOF

              Defendant Oscar Cruz (“Cruz”) hereby moves pursuant to Federal Rule of Civil Procedure

12(b)(6) to dismiss with prejudice, as they are pled against him, Counts I-V, XIII, and XX-XXII

of Plaintiff’s Amended Complaint (ECF No. 123) (“Amended Complaint”) for failure to state a

claim upon which relief can be granted.

                                         Preliminary Statement

              Plaintiff is the Administrator of the Estate of Eliud Montoya-Arcos (“Montoya”). On

August 19, 2017, Montoya, a former employee of Defendant Wolf Tree, Inc. (“Wolf”), was

murdered near his home by Defendant Pablo Rangel and two co-conspirators not named in this

lawsuit 1 following workplace complaints made by Montoya about Rangel. (Amended Complaint,
         0F




1
 Pablo Rangel, along with his brother Juan Rangel and Higinio Perez-Bravo, was indicted for,
among other offenses, Conspiracy to Commit Murder for Hire. Perez-Bravo and Pablo Rangel pled


                                                    1
     Case 4:18-cv-00184-RSB-BKE Document 208 Filed 06/21/24 Page 2 of 26




¶¶ 34-87). At the time of Montoya’s murder, Oscar Cruz served as an assistant to Rangel. Where

Plaintiff has pled facts, they are taken as true for purposes of this motion only. 2 Randall v. Scott,
                                                                                  1F




610 F.3d 701, 705 (11th Cir. 2010). Plaintiff’s conclusory allegations masquerading as facts are

not entitled to an assumption of truth. Plaintiff’s legal conclusions, to have any meaning, must be

sufficiently supported by well-pleaded facts. Thus, in considering the Motion to Dismiss, the

district court should assume, on a case-by-case basis, only that well pleaded factual allegations are

true, and then determine whether they plausibly give rise to an entitlement to relief. ADA v. Cigna

Corp. 605 F. 3d 1283,1290 (11th Cir. 2010).

       Plaintiff has alleged claims against Cruz for civil RICO under Georgia law, battery, assault,

intentional infliction of emotional distress, as well as claims for punitive damages and attorneys’

fees. The Factual Allegations of the Amended Complaint and Cruz’s Argument and Citations to

Authority follow.

                        Factual Allegations of Plaintiff’s Amended Complaint

I.     Davey/Wolf’s Work on Behalf of Georgia Power.

       The Davey Tree Expert Company (“Davey Tree”) and Wolf Tree, Inc. (“Wolf Tree”, and

collectively “Davey/Wolf”) are in the business of performing tree maintenance along power lines

on behalf of utility companies. (Amended Complaint ¶ 16.) In the Savannah, Georgia area,

Davey/Wolf contracted with the Georgia Power Company (“Georgia Power”) to provide tree

trimming services around Georgia Power’s utility lines. (Id. ¶ 27.) According to the Amended

Complaint, a majority of Wolf Tree’s Savannah employees were not authorized to work in the


guilty. Juan Rangel was convicted at trial for that and other offenses. USA v. Rangel-Rubio, et al.
4:18-cr-00274-LGW-BWC.
2
 In an abundance of caution, Cruz states that he denies many of the allegations in the Amended
Complaint. By filing this motion to contest the sufficiency of Plaintiff’s allegations, he does not
waive, but expressly reserves, his right to contest the truth of any of Plaintiff’s allegations.


                                                  2
       Case 4:18-cv-00184-RSB-BKE Document 208 Filed 06/21/24 Page 3 of 26




United States, and this fact was known to Cruz and the other Defendants (Id. ¶ 19.)

II.     Pablo Rangel’s Scheme to Hire Undocumented Workers and Defraud Davey/Wolf
        and Georgia Power.

        Pablo Rangel, Wolf Tree’s supervisor of its Savannah crews, is at the center of the alleged

RICO scheme. (Id. ¶¶ 20-26.) Rangel, a now convicted murderer (see fn. 1 supra) and himself an

undocumented worker, operated a scheme where he hired and “provid[ed] . . . illegal-aliens with

false identities and false identification documents,” and which were then used to “conceal the

illegal nature of the work force.” (Id. ¶ 22.) Rangel also arranged for Davey/Wolf to mail

employee paychecks to Rangel’s home address or his P.O. Box or direct-deposited employee

paychecks into his bank accounts. (Id. ¶ 23.) Rangel charged the workers for the false identities

and false documents. (Id. ¶ 22.)

        The Amended Complaint alleges that “Rangel solicited Cruz to assist him with his illegal

activities by making cash withdrawals and providing cash payments to workers Cruz knew were

illegal and from whom Rangel was receiving money in return. In exchange, Rangel paid Cruz

thousands of dollars from the funds Davey/Wolf deposited into Rangel’s bank accounts.”(Id. ¶

24.)

         While falsely certifying to Georgia Power that they had verified the legality of their

workforce, Davey/Wolf, through Rangel and Cruz, provided false identification documents to

Georgia Power to deceive Georgia Power into issuing Georgia Power identifications to illegal

aliens employed in Savannah.” (Id. ¶¶ 29, 30.)

III.    Eliud Montoya Reports Pablo Rangel’s Scheme.

        In March 2016, Montoya filed an internal HR complaint to Davey Tree that Pablo Rangel

provided stolen identification documents to unauthorized workers to hire them as Wolf Tree

employees. (Id. ¶¶ 43−44.) Instead of investigating Montoya’s complaint, Davey/Wolf told



                                                 3
     Case 4:18-cv-00184-RSB-BKE Document 208 Filed 06/21/24 Page 4 of 26




Rangel about it, in violation of the Company Defendants’ whistleblower policy. (Id. ¶ 48.)

        In April 2017, Montoya again complained orally and in writing internal HR complaint to

the Davey/Wolf alleging that, among other things, Rangel had hired undocumented workers using

stolen identities, paid them in cash, and stole a portion of their wages. (Id. ¶¶ 49–50.) This

complaint claimed that Montoya had reported this conduct to the Department of Labor. (Id. ¶ 51.)

Branch allegedly provided a copy of Montoya’s internal HR complaint to Rangel, and Rangel

admitted to Branch that he provided false identification to workers in exchange for money. (Id. ¶¶

56.) Plaintiff alleges that “Branch, Rangel and Cruz discussed calling a meeting of all Savannah

Call Center employees during which Rangel would disclose Montoya’s whistleblower report, and

the fact that Montoya was the whistleblower, to all Savannah Call Center employees.” (Id. ¶ 60.)

        In response to Montoya’s internal HR complaint, Rangel retaliated against Montoya. (Id.

¶¶ 61–63.) In May 2017, Rangel “read Montoya’s whistleblower report aloud to all of the

employees . . . and threatened and intimidated Montoya.” (Id. ¶ 61.) After hearing the HR

complaint read aloud, a number of the employees allegedly “became enraged, began rioting, and

threatened Montoya with physical violence and death.” (Id. ¶ 61.)

        In May 2017, Montoya provided Davey Tree’s Regional Safety Manager with a copy of

the internal HR complaint that he submitted in April 2017. (Id. ¶ 65−66.) Later that month,

Montoya was cited with an “‘unsatisfactory work’ employee violation notice,” allegedly in

retaliation for complaining about Rangel’s scheme. (Id. ¶¶ 68–69.)

        In August 2017, Montoya was suspended from work, pretextually for a safety violation, in

an attempt to silence Montoya and deter him from providing further reports to governmental

authorities. (Id. ¶ 70.)




                                                4
      Case 4:18-cv-00184-RSB-BKE Document 208 Filed 06/21/24 Page 5 of 26




IV.    Pablo Rangel Arranges for the Assassination of Eliud Montoya.

       After being suspended from work on August 16, 2017, Montoya informed Conner that he

planned to submit a complaint with the EEOC. Conner advised Rangel (Am. Compl. ¶¶ 82–83.)

The next day, Montoya went to the EEOC. (Id. ¶ 84.) Rangel then arranged for the assassination

of Montoya. He paid Higinio Perez-Bravo (a person having no affiliation with Cruz or any other

Defendant) to drive the getaway car and enlisted his brother, Juan Rangel, to commit the murder.

On August 19, 2017, Juan Rangel shot and killed Montoya. (Id. ¶ 87.)

V.     Pablo Rangel is Charged and Convicted of Murdering Eliud Montoya.

       In December 2018, Pablo Rangel, Juan Rangel, and Higinio Perez-Bravo were indicted on

charges relating to the murder of Montoya. 3 In March 2022, Rangel was convicted, by way of
                                            2F




plea agreement with aiding and abetting the murder of Montoya as well as harboring illegal aliens

and money laundering, among other crimes. (Am. Compl. ¶ 93) Rangel admitted arranging for

the assassination of Montoya, pled guilty to 18 U.S.C. § 1513(a)(1)(A), and was sentenced to 584

months in prison. 4
                 3F




       In April 2022, after the prosecution presented its evidence at trial, Perez-Bravo pled guilty

to conspiracy to commit murder for hire (Am. Compl. ¶ 94); and in October 2022, Juan Rangel,

was convicted of the retaliatory murder of a federal witness, among other crimes (Am. Compl.




3
        This Court may take judicial notice of public records, like an indictment or a judgment in
a criminal action and consider them on a motion to dismiss. See Curry v. TD Ameritrade, Inc.,
662 F. App’x 769, 771 n.3 (11th Cir. 2016) (taking judicial notice of defendant’s indictment and
related settlement); Tatum v. Ellien, 2014 WL 4774629, at *1 n.1 (S.D. Ga. Sept. 24, 2014) (court
“may take judicial notice of [the] conviction and [the] sentence in criminal case” and “all matters
of public record” on a motion to dismiss). Here, Pablo Rangel’s indictment was entered in United
States v. Rangel–Rubio, No. 18-cr-274 (S.D. Ga. Dec. 7, 2018), at ECF No. 2.
4
        See Judgment, United States v. Rangel-Rubio, No, 22-cr-030 (S.D. Ga. Nov. 21, 2022), at
ECF No. 33.


                                                 5
           Case 4:18-cv-00184-RSB-BKE Document 208 Filed 06/21/24 Page 6 of 26




95). 54F




VI.         Cruz is Charged and Pleads Guilty to One Count of Conspiracy to Conceal, Harbor,
            and Shield Illegal Aliens

            Plaintiff alleges, “On December 6, 2018, after providing false testimony in a civil action,

Cruz pled guilty to a four-year conspiracy to conceal, harbor, and shield illegal aliens in violation

of 8 U.S.C. § 1324(a)(1)(A)(v)(I)” (Am. Compl. ¶ 92.)


VII.        The Aftermath of Montoya’s Murder.

            The Amended Complaint alleges that Cruz falsely testified at his deposition in the related

state civil action when he said that he was not aware that Davey/Wolf had employed undocumented

workers prior to Montoya’s murder. (Id. ¶ 91.)

VIII. The RICO Enterprise Allegations.

            The Amended Complaint alleges that Davey/Wolf, Conner, Branch, and Cruz joined

together with Rangel to form an “association-in-fact enterprise” – naming it the so-called “Davey-

Rangel Enterprise” – which had the common purpose “of making money through a variety of illicit

means and concealing and prevention detection of the enterprise’s unlawful activities” – i.e., the

alleged scheme to hire undocumented workers and defraud Georgia Power. (Am. Compl. ¶¶

99−108.)

            According to Plaintiff, Rangel’s recruitment of illegal aliens was allegedly “[o]utside of

his duties and responsibilities as the supervisor” of the Savannah cost center.            (Id. ¶ 102.)

Davey/Wolf’s alleged role in the enterprise was to defraud Georgia Power out of “millions of



5
       See Indictment, United States v. Rangel-Rubio, No. 18-cr-274 (S.D. Ga. Dec. 8, 2018), at
ECF No. 2; Plea Agreement, United States v. Rangel-Rubio, No. 22-cr-030 (S.D. Ga. Mar. 28,
2022), at ECF No. 17; Plea Agreement, United States v. Perez-Bravo, No. 18-cr-274-3 (S.D. Ga.
Apr. 14, 2022), at ECF No. 605; Judgment, United States v. Rangel-Rubio, No. 18-cr-274-2 (S.D.
Ga. Apr. 18, 2023), at ECF No. 741.


                                                     6
     Case 4:18-cv-00184-RSB-BKE Document 208 Filed 06/21/24 Page 7 of 26




dollars,” and “fund Rangel’s outside recruitment of an illegal-alien workforce” and his harboring

of undocumented workers by sending their paychecks to Rangel’s address and/or by direct

depositing their paychecks into his bank accounts. (Id. ¶ 105.) Cruz’s alleged role was to assist

Rangel in his alleged scheme.

                              Argument and Citations to Authority

I.     Relevant Pleading Standards.

       To survive a motion to dismiss under Rule 12(b)(6), a plaintiff “must state a claim to relief

that is plausible on its face.” Smith v. United States, 873 F.3d 1348, 1351 (11th Cir. 2017). Facial

plausibility “asks for more than a sheer possibility” of a defendant’s liability – pleading “facts that

are ‘merely consistent with’ a defendant’s liability . . . stops short of the line between possibility

and plausibility.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (citing Bell Atl. Corp. v. Twombly, 550 U.S.

544, 557 (2007)). While a court must consider the factual allegations of a complaint to be true,

under Supreme Court and Eleventh Circuit authority, “this tenet is inapplicable to legal

conclusions. Threadbare recitals of the elements of a cause of action, supported by mere conclusory

statements, do not suffice." Ashcroft v. Iqbal, 556 U.S. 662, 678, 129 S. Ct. 1937, 173 L. Ed. 2d

868 (2009). Rather, "[a] complaint must state a facially plausible claim for relief, and '[a] claim

has facial plausibility when the plaintiff pleads factual content that allows the court to draw the

reasonable inference that the defendant is liable for the misconduct alleged.'" Reese v. Ellis,

Painter, Ratteree & Adams, LLP, 678 F.3d 1211, 1215 (11th Cir. 2012) (quoting Iqbal, 556 U.S.

at 678). "A pleading that offers 'labels and conclusions' or 'a formulaic recitation of the elements

of a cause of action'" does not suffice. Iqbal, 556 U.S. at 678 (quoting Bell Atl. Corp. v. Twombly,

550 U.S. 544, 555, 127 S. Ct. 1955, 167 L. Ed. 2d 929 (2007)” Chris v. McKesson, Inc. 2023 U.S.

Dist. LEXIS 133474 (S.D Ga. August 1, 2023). In other words, a court should not accept

“conclusory allegations, unwarranted deductions of facts or legal conclusions masquerading as


                                                  7
      Case 4:18-cv-00184-RSB-BKE Document 208 Filed 06/21/24 Page 8 of 26




facts.” Oxford Asset Mgmt., Ltd. v. Jaharis, 297 F.3d 1182, 1188 (11th Cir. 2002).

       The pleading standard for civil RICO claims is even more exacting. “Civil RICO claims,

which are essentially a certain breed of fraud claims, must be pled with an increased level of

specificity.” Ambrosia Coal & Constr. Co. v. Pages Morales, 482 F.3d 1309, 1316 (11th Cir.

2007). The substantive allegations underlying a RICO claim “must comply not only with the

plausibility criteria articulated in Twombly and Iqbal, but also with [Rule] 9(b)’s heightened

pleading standard.” Am. Dental Ass’n v. Cigna Corp., 605 F.3d 1283, 1291 (11th Cir. 2010). In

“alleging fraud or mistake, a party must state with particularity the circumstances constituting

fraud or mistake.” Id.

       Thus, to survive a motion to dismiss here, Plaintiff must allege: “(1) the precise statements,

documents, or misrepresentations made; (2) the time and place of and person responsible for the

statement; (3) the content and manner in which these statements misled the Plaintiffs; and (4) what

the defendants gained by the alleged fraud.” Ambrosia, 482 F.3d at 1316-17. In cases with

multiple defendants, a plaintiff “must allege facts with respect to each defendant’s participation in

the fraud.” Am. Dental, 605 F.3d at 1291; Brooks v. Blue Cross & Blue Shield of Fla., Inc., 116

F.3d 1364, 1381 (11th Cir. 1997).

II.    The Alleged Racketeering Acts Did Not Proximately Cause Plaintiff’s Injuries.

       The Complaint fails to allege proximate causation, a prerequisite for standing under

Georgia's civil RICO statute. In addition to a pattern of racketeering activity by each defendant, 6
                                                                                                   5F




Plaintiff must show “a direct nexus between at least one of the predicate acts listed under the



6
        To establish a “pattern of racketeering activity,” a plaintiff must plead that each defendant
“engag[ed] in at least two acts of racketeering activity.” O.C.G.A. § 16-14-3 (emphasis added);
see also Banks v. Wolk, 918 F.2d 418, 421 (3d Cir. 1990); Crest Constr. II, Inc. v. Doe, 660 F.3d
346, 358 (8th Cir. 2011)


                                                 8
     Case 4:18-cv-00184-RSB-BKE Document 208 Filed 06/21/24 Page 9 of 26




RICO Act and the injury [the plaintiff] purportedly sustained.” Rosen v. Protective Life Ins., 817

F. Supp. 2d 1357, 1381 (N.D. Ga. 2011) (emphasis added), aff'd sub nom. Rosen v. Am. Guar. &

Liab. Ins., 503 F. App'x 768 (11th Cir. 2013); Schoenbaum Ltd. v. Lenox Pines, LLC, 262 Ga. App.

457, 470 (Ga. Ct. App. 2003); Petlechkov v. FedEx Corp., 2023 WL 2871651, at *3 (N.D. Ga.

Apr. 7, 2023) (Proximate causation under RICO requires a showing that “the alleged violation led

directly to the plaintiff's injuries.”). Wylie v. Denton, 323 Ga. App. 161, 166 (2013) (emphasis

added) in accord Smith v. Morris, Manning & Martin, LLP, 293 Ga. App. 153, 165–66 (2008)

(RICO plaintiff must show that “her injury was the direct result of a predicate act targeted toward

her, such that she was the intended victim”). The Georgia RICO “direct nexus” requirement is

consistent with the U.S. Supreme Court’s test for RICO standing, which requires a “direct relation

between the injury asserted and the injurious conduct alleged.” 7 Bridge v. Phoenix Bond & Indem.
                                                                     6F




Co., 553 U.S. 639, 654 (2008); Anza v. Ideal Steep Supply Corp., 547 U.S. 451, 461 (2006) (“When

a court evaluates a RICO claim for proximate causation, the central question it must ask is whether

the alleged violation led directly to the plaintiff's injuries.”).

        Here, the Amended Complaint fails to establish a direct nexus between any predicate act

allegedly committed by Cruz and the harm suffered by Montoya. The alleged predicate acts fall

into six categories: (1) Pablo Rangel’s scheme to hire undocumented workers (“Unauthorized

Workers Scheme”); (2) an alleged scheme to “defraud Georgia Power” (the “Georgia Power

Scheme”); (3) interference with a witness; (4) the events of the May 2017 meeting at which



7
        The direct-relation standing requirement arises from the federal RICO civil remedy
providing that “any person injured …. by reason of a [RICO] violation” may bring suit. Anza v.
Ideal Steel Supply Corp., 547 U.S. 451, 463 (2006) (Thomas, J., concurring) (quoting 18 U.S.C. §
1964(c)) (emphasis added). Since Georgia’s civil RICO statute also includes the “by reason of”
language, “Georgia RICO cases require some direct relation between the alleged injury and the
prohibited conduct.” KJ's Gen. Contractors, Inc. v. J.E. Dunn Constr. Co., 2015 WL 5680379, at
*4 (S.D. Ga. Sept. 25, 2015); see O.C.G.A. §16–14–6.


                                                    9
    Case 4:18-cv-00184-RSB-BKE Document 208 Filed 06/21/24 Page 10 of 26




Montoya’s internal HR complaint was read aloud to other employees (the “May 2017 Meeting”);

(5) murder; and (6) the alleged “cover up” of the events leading up to Montoya’s death.

       A.      The Unauthorized Workers Scheme and Georgia Power Scheme Did Not
               Directly Harm or Target Plaintiff.

       The first two categories of alleged predicate acts – the Unauthorized Workers Scheme and

Georgia Power Scheme – immediately fail because, as alleged, they neither harmed nor targeted

Montoya. Under the Unauthorized Workers Scheme, Cruz and his co-Defendants allegedly

accepted and used false identification documents, harbored undocumented workers, engaged in

identity fraud, and participated in money laundering. (Am. Compl. ¶¶ 115–117, 121–123)

(alleging violations of 18 U.S.C. §§ 1546(a), (b)); 8 U.S.C. § 1324(a)(1)(A); 8 O.C.G.A. §§ 16-9-
                                                                             7F




121(a), (b), 18 U.S.C. § 1956(a)(1)(A)(i)).) But even if these allegations were true, they did not

directly harm Montoya. Nor did Cruz or any other Defendant specifically target Montoya when

they allegedly committed these acts. Rather, the Amended Complaint depicts an alleged scheme

where these predicate acts were designed to harm other parties. Tellingly, the Amended Complaint

identifies no harm, physical or financial, Montoya would have expected to suffer had there been

some connection between these predicate acts and him. If anyone was harmed by the string of

immigration-related predicate acts Plaintiff alleges, it would have been the illegal workers

themselves, perhaps Georgia Power Company, or the United States Government. Anza, 547 U.S.

at 460 (2006) (the State, not a private party, had standing to pursue RICO remedies when predicate

acts were tax fraud); Walters v. McMahen, 684 F.3d 435, 443-44 (4th Cir. 2012) (finding no direct


8
       The allegations in paragraph 117 are insufficient to support 8 U.S.C. § 1324(a)(1)(A) –
smuggling aliens – as a predicate act. The statute sets out five separate criminal offenses in
subsections(a)(1)(A)(i) to (v), but the Amended Complaint does not specify which of these
offenses any particular defendant has allegedly committed. Nor does it adequately plead the
elements of any of those offenses. See 8 U.S.C. § 1324(a)(1)(A)(i)–(v). Thus, the Amended
Complaint fails to plead Section 1324 as a predicate act.


                                               10
    Case 4:18-cv-00184-RSB-BKE Document 208 Filed 06/21/24 Page 11 of 26




harm to civil RICO plaintiff for employer’s alleged use of false documents to verify employment).

       Neither can Plaintiff claim standing through the alleged Georgia Power Scheme, where

Cruz is alleged to have aided Davey/Wolf to purportedly obtain “millions of dollars”, not from

Montoya, but from Georgia Power, by falsely certifying Wolf Tree had assigned authorized

workers to the contract. (See Am. Compl. ¶¶ 118-20.) According to Plaintiff, the predicate acts

underlying this scheme include, among others, theft by deception (O.C.G.A. § 16-8-3) (Am.

Compl. ¶ 118); wire fraud (18 U.S.C. § 1343) (Am. Compl. ¶ 119); mail fraud (18 U.S.C. § 1341),

and identity fraud (O.C.G.A. § 16-9-121(a)) (Am. Compl. ¶ 120). However, Plaintiff has not

alleged that any of this conduct was directed at, or harmed, Montoya. Lockhart v. Columbian

Chemicals Co., Inc, 2007 WL 9706424, at *3 (N.D. Ga. Aug. 31, 2007) (theft by deception fails

as predicate act where alleged theft directed at a third party). Indeed, given that the commission

of these alleged predicate acts necessarily relate to the Georgia Power contract, these acts neither

injured nor targeted Montoya.

       Neither can Plaintiff claim that Montoya was the victim of Cruz’s alleged participation in

Davey/Wolf’s retaliation for Montoya’s internal complaints about the commission of these

predicate acts. Courts in the Eleventh Circuit have routinely dismissed civil RICO claims where a

plaintiff’s purported injury is employment-related retaliation. For example, the Northern District

of Georgia – in a case on all fours with this one – rejected a civil RICO claim alleging that plaintiff

was fired for complaining internally about a scheme to hire undocumented workers, finding that

such an injury did not directly result from the alleged racketeering activity but rather “from the

tangentially related decision to fire him.” Parker v. Diverse Staffing Georgia, Inc., 2020 WL

10575029, at *10 (N.D. Ga. Dec. 23, 2020), rep. & recommendation adopted, 2021 WL 3367263

(N.D. Ga. Jan. 12, 2021); see also Anderson v. Brown Indus., 2012 WL 12860887, at *8-9 (N.D.




                                                  11
    Case 4:18-cv-00184-RSB-BKE Document 208 Filed 06/21/24 Page 12 of 26




Ga. June 13, 2012) (retaliatory termination for complaining about an alleged undocumented

workers scheme and “harassment” and “discrimination” are “insufficient to confer standing” under

RICO).

         Similarly, here the direct harms resulting from Davey/Wolf’s hiring of undocumented

workers are those that the federal employment verification laws seek to mitigate. Pretextual or

adverse employment actions resulting from retaliatory conduct – of the kind allegedly suffered by

Montoya (Am. Compl. ¶¶ 67, 68-69, 76, 79-81) – are collateral (and not direct consequences) to

the predicate acts underlying the Unauthorized Workers Scheme.

         B.     Employment Retaliation is Not Witness Interference.

         Plaintiff’s attempts to transform garden-variety acts of employment retaliation into

criminal interference with a witness under several statutory provisions should be rejected. These

statutes were never intended to criminalize employment retaliation – which is more appropriately

addressed under various employment laws. And in any event, Plaintiff fails to articulate a violation

of any of the criminal statutes here.

         Plaintiff initially attempts to reshape a workplace violation – i.e., alleged pretextual

citations issued to Montoya for “unsatisfactory work” and a “safety violation” resulting in a three-

day suspension for Montoya – as acts that amount to threatening a witness in an official

proceeding, O.C.G.A. § 16-10-32(b). (Am. Compl. ¶¶ 68, 69, 79, 80, 127, 130). But the alleged

workplace infractions – however pretextual or retaliatory – are not criminal acts under the Georgia

statute Plaintiff has cited or any other Georgia statute.

         Section 16–10–32(b) prohibits “threaten[ing] or caus[ing] physical or economic harm” to

another person “with intent to hinder, delay, prevent or dissuade any person from . . .

(1) [a]ttending or testifying in an official proceeding; or (2) [r]eporting in good faith to a law

enforcement officer, . . . the commission or possible commission of an offense under the laws of


                                                  12
     Case 4:18-cv-00184-RSB-BKE Document 208 Filed 06/21/24 Page 13 of 26




this state . . . .” Plaintiff’s vague allegation that Montoya, in his internal HR complaints, claimed

that he planned to or had reported “illegal and dangerous conduct” to certain government agencies

(Am. Compl. ¶¶ 45, 51) does not sufficiently satisfy the “official proceeding” element of the

statute. 9 The Amended Complaint does not allege that an official proceeding actually existed; the
       8F




best it can do is to allege the possibility of a proceeding that may or may not have actually existed.

Moreover, Plaintiff does not allege that Cruz verbally threatened Montoya with economic or

physical harm to dissuade him from testifying in any proceeding. Nor does the Amended

Complaint allege that Montoya ever indicated to Cruz that he planned to go to a law enforcement

officer – such as the local police or a federal agency – to report the Unauthorized Workers

Scheme. 10 Or, that Cruz took any action or had any intent to deter him from going to the police
             9F




or participating in a non-existent official proceeding. Instead, Plaintiff alleges only that the write-

ups were “retaliation” for Montoya’s internal “whistleblower reports” at Davey Tree and were

designed to deter Montoya from “further reports to [unspecified] government authorities.” (Am.

Compl. ¶¶ 69, 80.)

            This is insufficient to plead a predicate act under Georgia RICO. In Scouten v. Amerisave

Mortg. Corp., 284 Ga. App. 242, 243 (2007), rev'd on other grounds, 283 Ga. 72 (2008), vacated

in part on other grounds, 291 Ga. App. 493 (2008), Plaintiff Scouten alleged that “Amerisave




9
 “For the purposes of this Code section, the term “official proceeding” means any hearing or trial
conducted by a court of this state or its political subdivisions, a grand jury, or an agency of the
executive, legislative, or judicial branches of government of this state or its political subdivisions
or authorities.” O.C.G,A, §16-10-32(c)(1)
10
        The statute does not define “law enforcement officer” but the terms is defined elsewhere
in the Georgia code as “a person employed or appointed by a state or political subdivision who is
granted, by state law, the authority to enforce criminal, traffic, or penal laws of his or her respective
state and who possesses the power to effect arrests.” O.G.C.A. § 35-1-15.



                                                   13
    Case 4:18-cv-00184-RSB-BKE Document 208 Filed 06/21/24 Page 14 of 26




engaged in a fraudulent solicitation scheme under which it advertised mortgage interest rates lower

than those it was prepared to offer, and then pressured those responding to accept higher rates.

When Amerisave received complaints about these practices, it allegedly resolved them through

payoffs which had the effect of concealing the scheme. Scouten's complaint also asserts that

Amerisave attempted to influence unnamed “witnesses” (including Scouten himself) in violation

of OCGA § 16-10-93, and that when he refused to execute a declaration to be used in an

unidentified legal proceeding regarding Amerisave's practices, he was fired.” Id at 242, 243. The

Georgia Court of Appeals upheld the trial court’s dismissal of Scouten’s Civil RICO claim citing

deficiencies much like those in the Plaintiff’s Amended Complaint.

       To assert a claim under Georgia RICO, Scouten must show that his injury “flowed
       directly from the predicate offense.” As in Nicholson v. Windham, which also
       involved a whistleblower's RICO action against her ex-employer arising from a
       retaliatory firing, Scouten cannot make this showing. Amerisave's fraudulent
       practices were not directed at him, and he was fired not as a result of those practices,
       but because he refused to participate in them. Nor does the complaint show that
       Amerisave was engaged in witness tampering, since it alleges only that Scouten's
       discharge “was not wholly unrelated to his refusal to execute a declaration.” Without
       a specific allegation that Amerisave threatened Scouten with the economic harm of
       termination with the purpose of inducing him to sign the allegedly false declaration,
       Scouten's witness-tampering theory also fails.

        Id. at 243.

       Not surprisingly, there is not a single reported decision in Georgia in which a supervisor

was criminally prosecuted under Section 16–10–32 or 16–10–93 for issuing a pretextual work

violation, suspending or terminating an employee, or falsely stating that an internal investigation

of an HR complaint was ongoing. This Court should not allow Plaintiff to convert a routine

employment dispute into a RICO violation. See Lockhart v. Columbian Chemicals Co., Inc., 2007

WL 9706424, at *7 (N.D. Ga. Aug. 31, 2007) (dismissing RICO claim predicated on §16-10-32

because “proper vehicle” for alleged retaliatory termination was an employment discrimination




                                                14
     Case 4:18-cv-00184-RSB-BKE Document 208 Filed 06/21/24 Page 15 of 26




suit.)

         C.     The Alleged Predicate Acts from the May 2017 Meeting Are Insufficient.

         Plaintiff attempts to squeeze in two predicate acts 11 – terroristic threats and influencing a
                                                              10F




witness – from the May 2017 Meeting at which Montoya’s complaint was read out loud and certain

workers allegedly threatened Montoya. (Am. Compl. ¶¶ 61, 125-26.) But these predicate acts are

insufficient for several reasons.

         First, as with the other witness interference allegations, Plaintiff fails to sufficiently plead

the crime of influencing a witness because there are no allegations that Montoya ever expressed

an intention to report his complaints to a law enforcement officer. Second, Plaintiff alleges only

that Rangel “solicited and coerced others to make terroristic threats against Montoya in violation

of O.C.G.A. § 16–11–37.” (Id. at ¶ 126.), the elements of which are: “(a) that the defendant

threatened to commit a crime of violence against the victim, and (b) that the defendant did so with

the purpose of terrorizing the victim.” State v. Stubbs, 365 Ga. App. 630, 633–34 (2022). Here,

the required intent element is missing. Plaintiff makes no such allegation of Cruz. Third, there are

no allegations of solicitation – that there was a “relatively overt statement or request intended to

bring about” the commission of a felony. Eng. v. State, 290 Ga. App. 378, 380 (2008). Terroristic

threats are a misdemeanor, unless they involve a death threat (O.C.G.A. 16-11-37(d)(1)); nowhere




11
        Even if Plaintiff had sufficiently plead the elements of both terroristic threats and
influencing a witness, those two predicate acts cannot constitute a “pattern” of racketeering activity
because they allegedly arose out of a single incident. McGinnis v. Am. Home Mortg. Servicing,
Inc., 817 F.3d 1241, 1253 (11th Cir. 2016) (“even if a court could technically ascribe more than
one criminal offense to different aspects of the conduct,” there is no pattern of racketeering activity
when “everything that occurred . . . was the logical result of [the] same core thread of
misconduct”).


                                                   15
     Case 4:18-cv-00184-RSB-BKE Document 208 Filed 06/21/24 Page 16 of 26




does Plaintiff allege that Oscar Cruz overtly asked the other employees to make death threats. 12 11F




       In fact, all Cruz is alleged to have done is to call a meeting. There is no allegation of any

actions taken towards or words spoken by Cruz to Montoya at this meeting at all. Thus, Plaintiff

has failed to plead any predicate act by Cruz arising from this meeting.

       D.      Cruz Was Not Involved in the Murder.

       Plaintiff alleges intentional murder (O.C.G.A. § 16-5-1) and retaliating against a federal

witness (18 U.S.C. § 1513(a)) as additional predicate acts. (Am. Compl. ¶ 133.) But Cruz did not

commit Montoya’s murder. The public record makes it clear that Pablo Rangel and his two co-

conspirators alone were indicted and convicted for their role in Montoya’s assassination. See

Tatum v. Ellien, 2014 WL 4774629, at *1 n.1 (S.D. Ga. Sept. 24, 2014) (considering conviction

record on a motion to dismiss).

       In the face of these convictions, and the extensive trial testimony from the criminal trials

of Higinio Perez-Bravo and Juan Rangel in this very District, Plaintiff’s credibility is the only

casualty of his contention that Cruz was involved, in any way, with Montoya’s death. By alleging

murder as one of Cruz’s predicate acts, Plaintiff is, in fact, claiming that the United States Attorney

for the Southern District of Georgia allowed a man who should have been indicted and convicted

as a co-conspirator with the three men convicted of conspiring to murder Montoya, to plead guilty

to one count of Conspiracy to Harbor Illegal Aliens. The US Attorney then filed a downward

departure motion on his behalf, for which Cruz served a sentence of less than six months. Since

Plaintiff is held to the same exacting standard in pleading his Civil RICO claim as is required to

plead a claim for fraud, he has fallen massively short of alleging facts sufficient to show to such


12
       Rangel’s alleged threats against two other workers who sent statements to Davey Tree do
not confer standing because the purported threats were directed towards other people – not
Montoya. (Am. Compl. ¶ 129.)


                                                  16
    Case 4:18-cv-00184-RSB-BKE Document 208 Filed 06/21/24 Page 17 of 26




an exacting standard that Cruz was involved with Montoya’s murder. The allegations of ¶132 are

all the Plaintiff offers. One would be hard pressed to find a Civil RICO predicate act pleading more

illustrative than ¶132 of the Amended Complaint of the sort of “conclusory allegations,

unwarranted deductions of facts or legal conclusions masquerading as facts” rejected by the

Eleventh Circuit in Jaharis.

       E.      The Purported “Cover Up” Following Montoya’s Death Did Not Target
               Montoya.

       The final predicate acts – “perjury” and “false statements” – do not confer RICO standing

because Montoya was not injured by a purported “cover up” that occurred after his death. Plaintiff

alleges that, after the murder, to “conceal criminal activities committed by Defendants’ criminal

enterprise,” Cruz perjured himself at a deposition in the state case when he testified that he was

not aware that unauthorized workers had been hired by the Company Defendants prior to

Montoya’s murder. (Id. ¶¶ 91, 136.)

       At most, Plaintiff has alleged that Cruz made false statements to “cover up” the

Unauthorized Workers Scheme. But as discussed above, Plaintiff lacks standing to bring a RICO

claim predicated on the Unauthorized Workers Scheme because there is no direct nexus between

those acts and Montoya’s injuries.

       Moreover, since Cruz’s alleged statements were allegedly made after Montoya’s death,

these acts were not and could not have been directly targeted towards him. See Testone v. Niagara

Mohawk Power Corp., 1992 WL 72145, at *10 (N.D.N.Y. Mar. 26, 1992) (in civil RICO case, “by

alleging that he was injured by the purchase of the highly overvalued corporation in 1975, plaintiff

destroys standing by pleading predicate acts which occur after the injury or which have no causal

connection to the injury”). Therefore, the so-called “cover-up” does not confer standing on

Plaintiff to bring a RICO claim against Cruz.



                                                17
       Case 4:18-cv-00184-RSB-BKE Document 208 Filed 06/21/24 Page 18 of 26




III.     The Amended Complaint Fails to Plead a Distinct RICO Enterprise.

         Plaintiff’s allegations also fail to satisfy the “distinct enterprise” element of his Section

4(b) RICO claim. Section 4(b) confers liability on a “person employed by or associated with any

enterprise to conduct or participate in, directly or indirectly, such enterprise through a pattern of

racketeering activity.” O.C.G.A. § 16–14–4(b). Because an enterprise cannot be employed by or

associated with itself, McCullough v. Suter, 757 F.2d 142, 144 (7th Cir. 1985), the U.S. Supreme

Court – and virtually every Court of Appeals, including the Eleventh Circuit – has required a

“distinction between the defendant ‘person’ and the ‘enterprise’ itself.” See Ray v. Spirit Airlines,

Inc., 836 F.3d 1340, 1355 (11th Cir. 2016); Cedric Kushner Promos. Ltd. v. King, 533 U.S. 158,

161–62 (2001). An “enterprise may not simply be a ‘person’ referred to by a different name.”

Ray, 836 F.3d at 1355; accord Cruz v. FXDirectDealer, LLC, 720 F.3d 115, 120 (2d Cir. 2013)

(“a corporate person cannot violate the [RICO] statute by corrupting itself”).

         Here, the Amended Complaint attempts to patch up the deficiencies plaguing the original

complaint’s enterprise allegations by introducing a new term – the “Davey-Rangel Enterprise.”

But the Amended Complaint still hasn’t cured the fatal pleading deficiencies of the original

complaint. The newly named Davey-Rangel Enterprise is in sum and substance, a group of the

same tree-trimming and utility clearing companies consisting of Davey Tree, Wolf Tree, and its

former and current employees. Plaintiff has merely alleged a “RICO enterprise that consists

merely of a corporate defendant associated with its own employees or agents carrying on the

regular affairs of the defendant”. This does not satisfying the distinctness requirement to make out

a Section 4(b) claim. Riverwoods Chappaqua Corp. v. Marine Midland Bank, N.A., 30 F.3d 339,

344 (2d Cir. 1994).

         The Eleventh Circuit's decision in Ray is instructive. There, the court rejected an alleged

RICO enterprise consisting of a corporate defendant, two of its officers, and four employees. Ray,


                                                  18
    Case 4:18-cv-00184-RSB-BKE Document 208 Filed 06/21/24 Page 19 of 26




836 F.3d at 1352–58. The court held that “in an association-in-fact enterprise, a defendant

corporation cannot be distinct for RICO purposes from its own officers, agents, and employees

when those individuals are operating in their official capacities for the corporation.” Id. at 1355

(emphasis added). Indeed, “permitting plaintiffs to plead an enterprise consisting of a defendant

corporation and its officers, agents, and employees acting within the scope of their employment

would broaden RICO beyond any reasonable constraints” and “turn every claim of corporate fraud

into a RICO violation.” Id. at 1357.

       Nothing in the Amended Complaint remotely suggests that the alleged activities of the

Davey-Rangel Enterprise are any different from the ordinary course activities of Davey Tree, Wolf

Tree, and its employees. This deficiency is fatal to Plaintiff’s claim because a parent company

and its subsidiaries cannot form an “enterprise” for RICO purposes unless there is some suggestion

that the vehicle of corporate separateness was deliberately used to facilitate unlawful activity. See

Bucklew v. Hawkins, Ash, Baptie & Co., 329 F.3d 923, 934 (7th Cir. 2003) (separate incorporation

does not constitute "sufficient distinctness to trigger RICO liability . . . unless the enterprise's

decision to operate through subsidiaries rather than divisions somehow facilitated its unlawful

activity"); Bessette v. Avco Fin. Servs., Inc., 230 F.3d 439, 449 (1st Cir. 2000) (“Without further

allegations, the mere identification of a subsidiary and a parent in a RICO claim fails the

distinctiveness requirement.”); Chagby v. Target Corp., 2009 WL 398972, at *1 n.2 (C.D. Cal.

Feb. 11, 2009) (“If, as alleged, Target Corp. and its subsidiaries are a RICO enterprise, then every

corporation that has subsidiaries and commits fraud is an enterprise for RICO purposes. That is

not the law.”).

       The Fifth Circuit’s decision in Atkinson v. Anadarko Bank & Tr., 808 F.2d 438 (5th Cir.

1987), is particularly apt. In Atkinson, the plaintiff alleged that a bank, its holding company, and




                                                 19
      Case 4:18-cv-00184-RSB-BKE Document 208 Filed 06/21/24 Page 20 of 26




three of its employees formed a RICO association-in-fact for the purpose of mailing false and

fraudulent loan statements that charged a higher amount of interest than the agreement provided.

Id. at 439. Following a jury verdict in favor of the plaintiff, the district court set aside the verdict

for lack of distinctness in the claimed enterprise. Id. at 439–40. The Fifth Circuit affirmed, finding

that there was “no evidence that the bank, its holding company, and the three employees were

associated in any manner apart from the activities of the bank.” Id. at 441. The court found that

the alleged illegal activity – mail fraud associated with mailing fraudulent loan statements – was

the activity of the bank, not of some separate, alleged association-in-fact enterprise. Id. Because

Defendants are nothing more than a corporation, a subsidiary, and their employees, the distinctness

requirement has not been satisfied, and the Section 4(b) claim must be dismissed for lack of

standing.

IV.     The Amended Complaint Fails to Plead a RICO Conspiracy.

        Plaintiff’s conspiracy claims under Section 4(c) of Georgia’s RICO statute fail because his

Section 4(a) and 4(b) claims fail to allege a substantive RICO claim. Plaintiff’s conspiracy claim

fails to allege a single specific fact against Cruz or any other Defendant. Amended Complaint ¶¶

162-175. Where the underlying RICO claims are deficient, and (as here) the conspiracy claim adds

nothing new but is wholly reliant on the underlying claims, the conspiracy claim fails as well.

Jackson v BellSouth Telecomm., 372 F.3d 1250, 1269 (11th Cir. 2004) (dismissing RICO

conspiracy claim where court “already found that the complaint failed to state a substantive RICO

claim, and the RICO conspiracy adds nothing”); Doe #1 v. Red Roof Inns, Inc., 21 F.4th 714, 728

(11th Cir. 2021) (affirming dismissal of Section 4(c) conspiracy claim predicated on the “same

threadbare allegations as the substantive RICO claims”). Thus, as pled, the conspiracy claim rises

and falls with the substantive RICO claims. And since Plaintiff failed to allege a primary violation

of either Section 4(a) or 4(b), the conspiracy claim also fails.


                                                  20
     Case 4:18-cv-00184-RSB-BKE Document 208 Filed 06/21/24 Page 21 of 26




        Plaintiff’s conspiracy claim must be dismissed because it is a “formulaic recitation…of a

conspiracy claim that the Supreme Court declared insufficient in Twombly and Iqbal.” Omnipol,

A.S. v. Multinat’l Def. Servs., LLC, 32 F.4th 1298, 1310 (11th Cir. 2022). Plaintiff has done no

more than “simply allege” that Defendants collectively endeavored to violate Sections 4(a) and (b)

– without a single specific detail about the alleged conspiracy or which Defendant did what. See

Omnipol, 32 F.4th at 1309–10; Parker, 2020 WL 10575029, at *11 (dismissing RICO conspiracy

claim that failed to allege with particularity an agreement to commit a conspiracy, the dates when

such conspiracy formed, or when the specific defendants joined the conspiracy); Parker, 2020 WL

10575029, at *11 (dismissing RICO conspiracy claim where complaint merely “offer[ed]

conclusory statements,” that the defendants conspired to commit the predicate acts”) (citation and

quotation omitted).

        Repeatedly, the RICO conspiracy count, and the facts on which it and Plaintiff’s Section

4(a) and 4(b) claims rely, allege conduct against “the Defendants” generally, rather than assigning

specific conduct to each defendant. 13 so that they can understand what it is that they allegedly
                                     12F




have done to violate the RICO statute. Christian v. Okefenokee Charlton Tr., 2020 WL 5242931,

at *3 (S.D. Ga. Sept. 2, 2020) (The “Eleventh Circuit has expressed little tolerance for such

pleadings because they waste scarce judicial resources and inexorably broaden the scope of

discovery,” among other things); see also Merrill Lynch, Pierce, Fenner & Smith, Inc. v. Young,

1994 WL 88129, at *31 (S.D.N.Y. Mar. 15, 1994) (“Grouping defendants is no more permissible

in a RICO conspiracy claim, which must allege that each defendant agreed to commit at least two

predicate acts. . . .”).




13
        Specific reference is made to ¶¶ 53,54,59, ,63, 68, 76, 85, 104, 118, and 124.


                                                21
      Case 4:18-cv-00184-RSB-BKE Document 208 Filed 06/21/24 Page 22 of 26




V.      Plaintiff Has Failed to State a Claim for Battery

        The tort of battery requires an unlawful touching. Lawson v. Bloodsworth, 313 Ga. App.

616, 618 (2012); O.C.G.A. § 51-1-13. Yet the only act of touching alleged in Plaintiff’s battery

claim is that Juan Rangel shot Montoya. Assault requires the “intention to commit an injury,

coupled with an apparent ability to do so.” Wallace v. Stringer, 250 Ga. App. 850, 853 (2001);

O.C.G.A. § 51-1-14. Cruz, Plaintiff alleges, threatened Montoya with violence, yet Plaintiff could

find no place in his 278 paragraphs to identify the occasion when Cruz verbalized this threat or

what Cruz said that threatened Montoya with violence.


VI.     Plaintiff Has Failed to State a Claim Against Cruz for Assault

        In Count 5 of the Amended Complaint, Plaintiff asserts a claim for assault against Cruz.

(Amended Complaint, ¶¶ 180-184). All that is offered in support of this claim are the rote

recitations of elements of the tort of assault. “Defendants, through Cruz and Rangel, threatened

Montoya with violence and had the apparent ability to perform said acts of violence.” (Amended

Complaint, ¶181). Plaintiff has failed to allege a single specific factual occurrence wherein Cruz

actually threatened Montoya, much less a circumstance where Cruz did so with the intent and

apparent ability to harm Montoya. The closest he comes is to allege that Cruz called a meeting

where Montoya was threatened by others. Plaintiff further alleges that Cruz should be held

vicariously liable for the threat posed by Juan Rangel, the trigger man in the conspiracy of three

men, neither of which is Oscar Cruz, to kill Montoya in the moments before he was murdered

(Amended Complaint, ¶182). Nowhere in Plaintiff’s 278 paragraphs of his Amended Complaint

does Plaintiff make a factual allegation that Cruz himself threatened Montoya at any time. Neither

does Plaintiff allege that Cruz himself had an intention to commit an injury to Mr. Montoya,

coupled with the apparent ability to do so. Neither does Plaintiff ever allege that Cruz ever



                                               22
       Case 4:18-cv-00184-RSB-BKE Document 208 Filed 06/21/24 Page 23 of 26




expressed to Montoya, or manifested in conduct towards Montoya, any such intention to physically

harm Montoya. Plaintiff has failed to state a cause of action for assault.

VII.     Plaintiff Has Failed to State a Claim Against Cruz for Intentional Infliction of
         Emotional Distress

         Count 13 alleges against Cruz the tort of Intentional Infliction of Emotional Distress. It

should be dismissed for failure to state a claim under Rule 12 (b)(6). To state a claim based on the

intentional infliction of emotional distress, the factual allegations of a complaint must contain at

least four elements: (1) [t]he conduct must be intentional or reckless; (2) [t]he conduct must be

extreme and outrageous; (3) [t]here must be a causal connection between the wrongful conduct

and the emotional distress; and (4) [t]he emotional distress must be severe. Joyner v. Lifeshare

Mgmt. Grp., LLC, 2018 WL 6092743, at *4 (S.D. Ga. Nov. 21, 2018) (Moore, J.); Northside Hosp.

v. Ruotanen, 246 Ga. App. 433, 435 (Ga. App. 2000). Yet not just any extreme, intentional or

reckless conduct will suffice. “It has not been enough that the defendant has acted with an intent

which is tortious or even criminal, or that he has intended to inflict emotional distress, or even that

his conduct has been characterized by malice, or a degree of aggravation that would entitle the

plaintiff to punitive damages for another tort. Liability has been found only where the conduct has

been so outrageous in character, and so extreme in degree, as to go beyond all possible bounds of

decency, and to be regarded as atrocious, and utterly intolerable in a civilized society.” Cottrell v.

Smith 299 Ga. 517, 521-522 (Ga. 2016).

         “Generally, the case is one in which the recitation of the facts to an average member of the

community would arouse his resentment against the actor, and lead him to exclaim, “Outrageous!”

Ferrell v. Mikula, 295 Ga. App. 326, 333 (Ga. App. 2008). “With respect to the severity of the

emotional distress, "[t]he conduct must inflict emotional distress so severe that no reasonable

person could be expected to endure it." (Citation and punctuation omitted.) This Court has noted



                                                  23
      Case 4:18-cv-00184-RSB-BKE Document 208 Filed 06/21/24 Page 24 of 26




that ‘[e]motional distress inflicted by another is not an uncommon condition; emotional distress

includes all highly unpleasant mental reactions such as fright, horror, grief, shame, humiliation,

embarrassment, anger, chagrin, disappointment, worry, and nausea. It is only where it is extreme

that liability arises. The law intervenes only where the distress inflicted is so severe that no

reasonable [person] could be expected to endure it.” Ellison v. Burger King Corp., 294 Ga. App.

814,818 (Ga. App. 2008).

        Plaintiff, however, fails to either allege that Montoya suffered any emotional distress, or

offer any factual support for such an allegation. 14 This omission alone requires dismissal of
                                                     13F




Plaintiff’s claim for intentional infliction of emotional distress. See e.g., Monsrud, 2020 WL

12654451, at *10; Roberts v. JP Morgan Chase Bank, Nat'l Ass'n, 342 Ga. App. 73, 77 (2017);

Timmons v. Bryson, 2016 WL 4082710, at *7 (S.D. Ga. Aug. 1, 2016); Kogut v. L.L.J., Inc., 2005

WL 8156176, at *14 (N.D. Ga. July 29, 2005). Even if he had, dismissal for failure to state a claim

is still warranted because an objective standard is used to measure whether the conduct in question

satisfies the elements of the tort.

VIII. Plaintiff Has Failed to State a Survival Claim, Claim for Attorneys’ Fees and
      Expenses, and Punitive Damages

        As Plaintiff has failed to plead a single substantive claim against Cruz, his derivative

Survival, OCGA §13-6-11 and Punitive Damages claims fail as well and should therefore be

dismissed.

IX.     Joinder and Adoption of Arguments of Co-Defendants

        In addition to the arguments set forth herein, Cruz hereby joins in and adopts any and all




14
        Plaintiff also does not explain which of the Defendants’ conduct is extreme and outrageous,
and instead relies on every single factual allegation in the Amended Complaint. And since he does
not allege any emotional distress, he also fails to plead the causation element of the claim


                                                24
     Case 4:18-cv-00184-RSB-BKE Document 208 Filed 06/21/24 Page 25 of 26




additional arguments relating to Plaintiff’s RICO claims set forth in the Motions to Dismiss

Plaintiff’s Amended Complaint filed by his co-Defendants, including without limitation Plaintiff’s

failure to properly plead acquisition injury, proximate cause, and a distinct RICO enterprise.

                                            CONCLUSION

        For the foregoing reasons, Oscar Cruz respectfully requests that this Court dismiss with

prejudice all claims asserted against him in Plaintiff’s Amended Complaint and grant all such other

and further relief as is just and proper.

        This 21st day of June, 2024.
                                                     BRENNAN & WASDEN, LLC

                                                     By:   /s/ Wiley A. Wasden, III
                                                             Wiley A. Wasden, III
                                                             Lead Counsel
                                                             State Bar No. 738750

                                                             William E. Dillard
                                                             State Bar No. 222030

                                                             Attorneys for Defendant Oscar Cruz
Post Office Box 8047
Savannah, Georgia 31412
912-232-6700 TELEPHONE
912-232-0799 FACSIMILE
wwasden@brennanwasden.com
bdillard@brennanwasden.com
1394-2




                                                25
    Case 4:18-cv-00184-RSB-BKE Document 208 Filed 06/21/24 Page 26 of 26




                              CERTIFICATE OF SERVICE

       This is to certify on this 21st day of June, 2024, the foregoing was served through the

Court’s ECF system upon all counsel registered to receive service, and served via regular U.S.

mail on the following:

Pablo Rangel-Rubio (Pro Se)
USP Atwater
U.S. Penitentiary
P.O. BOX 019001
Atwater, CA 95301
                                                  BRENNAN & WASDEN, LLC

                                                  By:   /s/ Wiley A. Wasden, III
                                                          Wiley A. Wasden, III
                                                          Lead Counsel
                                                          State Bar No. 738750

                                                          William E. Dillard
                                                          State Bar No. 222030

                                                         Attorneys for Defendant Oscar Cruz
Post Office Box 8047
Savannah, Georgia 31412
(912) 232-6700 TELEPHONE
(912) 232-0799 FACSIMILE
wwasden@brennanwasden.com
bdillard@brennanwasden.com




                                             26
